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                                                                                            FILED
                         IN THE UNITED STATES DISTRICT COURT                                DEC 1 12018
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                                                                      ClERK, U.S. DISTRICT COURT
                                                                                    SOUTHERN DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA,                      )                                            BENTON OFFICE
                                               )
                               Plaintiff,      )
                                               )
               vs.                             )      CRIMINAL NO.        IS- 30 ll8 -S 111 y
                                               )
LEVONNA BURNS,                                 )
                                               )
                               Defendant.      )


                                   STIPULATION OF FACTS

       Comes now Steven D. Weinhoeft, United States Attorney for the Southern District of

Illinois through Ranley R. Killian, Assistant U.S. Attorney for this District and herewith enter into

the following Stipulation of Facts with the Defendant, Levonna Burns, represented by her attorney,

Larry R. Handfield, pertaining to the conduct of the Defendant charged in the information in this

case and the relevant conduct of the defendant within the scope ofU.S.S.G. § IB1.3.

        1.     On March 6 of20 17, LEVONNA BURNS, Francois Cali sal and Renee Spivey were

stopped by the Illinois State Police on a traffic related offense on I-70 in Madison County, Illinois,

within the Southern District of Illinois.

       2.      A subsequent search of the vehicle resulted in the seizure of a substantial amount

of cocaine.

       3.      In the early morning hours of March 7, 2017, BURNS along with the other

occupants of the vehicle were interviewed regarding the cocaine and activities surrounding the

distribution of cocaine in the Southern District of Illinois. During this interview, BURNS denied

knowledge of cocaine being in the vehicle.
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          4.     BURNS also told law enforcement that she had not driven the vehicle containing

the cocaine from California to St. Louis, instead, claiming she had driven a different rental car.

          5.     The defendant's statement was willful and false regarding a material aspect of the

criminal investigation.          BURNS had in fact driven the vehicle containing the cocaine from

California to St. Louis with Francois Calisal. This statement was made to agents of the United

States Drug Enforcement Administration, an agency of the Executive Branch of the United States.




SO STIPULATED:


                                                  UNITED STATES OF AMERICA,


                                                         STEVEN D. WEINHOEFT
                                                         United States Attorney




Date: I   "d-{ I \ (   I,   h:                          Date:    /   Lfl ~/18':
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